Entered: June 28, 2006       Case 03-80169       Doc 2299       Filed 06/28/06   Page 1 of 2
Signed: June 27, 2006
DENIED
as moot.




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                              (Baltimore Division)




                                                            ED
       In re:                                           *

       MCSI, INC., et al                                *       Case No.: 03-80169 (JS) through
                                                                Case No.: 03-80176 (JS)
       Debtors.                                                 Chapter 11
                                                        *       (Jointly Administered under
                                                                Case No.: 03-80169 (JS))
                                             NI
       *      *          *    *       *      *      *   *           *     *      *     *       *   *    *

                   ORDER EXTENDING THE EXCLUSIVE PERIOD FOR THE DEBTORS
                  TO OBTAIN ACCEPTANCES FOR THEIR PLAN OF REORGANIZATION

                  Upon consideration of the motion of the above-captioned debtors and debtors in possession
                             DE

        (collectively, the “Debtors”) for entry of an order extending the exclusive period for the Debtors

        to obtain acceptances for their proposed plan of reorganization (the “Motion”), and after

        consideration of any objections made thereto and after any hearing held thereon; and it appearing

        that adequate notice of the Motion was provided and that no further or other notice is necessary;

        and there appearing good cause for granting the relief requested in the Motion; it is by the United

        States Bankruptcy Court for the District of Maryland, hereby

                  ORDERED, that the Motion be and the same is hereby GRANTED; and it is further




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                  Case 03-80169      Doc 2299           Filed 06/28/06   Page 2 of 2



          ORDERED, that all capitalized terms not defined herein shall have the meanings

ascribed to them in the Motion; and it is further

          ORDERED, that, pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’

Exclusive Solicitation Period, with respect to the Plan and any amendments or modifications

thereto, is hereby extended to and including May 31, 2004; and it is further

          ORDERED, that this Order is without prejudice to the right of the Debtors’ right to

request further extensions of the Exclusive Solicitation Period pursuant to section 1121(d) of the

Bankruptcy Code.




                                                    ED
                                        END OF ORDER

cc:

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